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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAMIRA SIERRA, AMALI SIERRA,
RICARDO NIGAGLIONI, ALEX GUTIERREZ, and
CHARLES HENRY WOOD, individually and on
behalf of all others similarly situated,

                              Plaintiffs,
       v.
                                                             20-cv-10291 (CM)(GWG)
                                                             20-cv-10541 (CM)(GWG)
CITY OF NEW YORK, a municipal entity; and
Mayor BILL DE BLASIO, Chief of Department
TERENCE A. MONAHAN, Assistant Chief
                                                             NOTICE OF UNOPPOSED
KENNETH C. LEHR, Inspector ROBERT
                                                             MOTION FOR FINAL
GALLITELLI, Bureau Chief HARRY WEDIN,
                                                             SETTLEMENT APPROVAL
Deputy Chief JOHN D’ADAMO, Deputy Chief
GERARD DOWLING, Captain JULIO DELGADO,
Sergeant KENNETH RICE, Sergeant THOMAS
GARGUILO, Police Officer JOHN MIGLIACCIO,
and Police Officer THOMAS MOSHER, in their
individual capacities,

                              Defendants.



       PLEASE TAKE NOTICE that, upon the Declaration of Joshua Moskovitz in Support of

Unopposed Motion for Final Settlement Approval, dated October 17, 2023, and exhibit thereto;

the Declaration of Milan Mader of Rust Consulting, Inc., dated October 17, 2023; and the

accompanying Memorandum of Law, Plaintiffs respectfully move this Court for an order:

       (1) granting final approval to class-wide settlement (Dkt. 890);

       (2) certifying the class for settlement purposes under Rule 23(b)(3);

       (3) finding that the notice to the class was materially consistent with the Court’s

            Preliminary Approval Order (Dkt. 892);

       (4) approving service awards of $21,500 to each of the five Class Representatives;

       (5) approving payment of $2,250,000 for Class Counsel’s attorneys’ fees and costs



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           through March 3, 2023 (the date of the Preliminary Approval Order); and

      (6) granting such other and further relief as the Court deems just and proper.



      PLEASE TAKE FURTHER NOTICE that Defendants do not oppose this motion.



Dated: October 17, 2023



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